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                                UNITED STATES DISTRICT COURT
                                                          for the
                                                  District of Connecticut

                CONFIGAIR LLC
                        Plaintiff                            )
                                                             )
                                                                                           3:17-cv-02026-JBA
                           v.                                )      Case No.
                  HENRY KURZ                                 )
                                                             )
                       Defendant

                                            NOTICE OF APPEARANCE

To:     The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

                                            DEFENDANT, HENRY KURZ
                                                                                                                     .


                 Feb 02, 2018                                       /s/ Bruce H. Raymond
Date:
                                                                                       Attorney’s signature

                                                                    Bruce H. Raymond ct04981
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                                   CERTIFICATE OF SERVICE


I hereby certify that on
                             Feb 02, 2018           , a copy of foregoing was filed electronically and served
by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court=s electronic filing system or by mail to [Below list the names and addresses of anyone
unable to accept electronic filing] as indicate on the Notice of Electronic Filing. Parties may access this filing
through the Court's CM/ECF System.


                                                            /s/ Bruce H. Raymond
                                                            Attorney’s signature
